                               Case 1:21-mj-00686-RMM Document 1 Filed 12/07/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                                     UNITED STATES DISTRICT COURT
                                                                                                    for the
                                                                                        District of &ROXPELD

                        United States of America                                                        )
                                   v.                                                                   )
Donald Hazard , (DOB: XXXXXXXXX)                                                                        )           Case No.
Lucas Denney, (DOB: XXXXXXXX)                                                                           )
                                                                                                        )
                                                                                                        )
                                                                                                        )
                                     Defendant(s)


                                                                        CRIMINAL COMPLAINT
              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                         January 6, 2021                                 in the county of                                           in the
                                     LQWKH'LVWULFWRI                  &ROXPELD , the defendant(s) violated:

Code Section                                                                                          Offense Description
Hazard Charges:
18 U.S.C. §§ 111(a)(1) and (b) – Assaulting, Resisting, or Impeding Certain Officers, Inflicting Bodily Injury
18 U.S.C. 231(a)(3) – Civil Disorder
18 U.S.C. § 1512(c)(2) – Obstruction of an Official Proceeding
18 U.S.C. § 1512(k) – Conspiracy to Obstruct an Official Proceeding
18 U.S.C. §§ 1752(a)(1) and 1752(b)(1)(B) Entering and Remaining in a Restricted Building or Grounds, Resulting in Significant Bodily Injury
18 U.S.C. §§ 1752(a)(2) and 1752(b)(1)(B) – Disorderly and Disruptive Conduct in a Restricted Building or Grounds, Resulting in Significant Bodily Injury
18 U.S.C. §§ 1752(a)(4) and 1752(b)(1)(B) – Engaging in Physical Violence in a Restricted Building or Grounds, Resulting in Significant Bodily Injury
40 U.S.C. § 5104(e)(2)(C) – Entering and Remaining in Certain Rooms in the Capitol Building
40 U.S.C. § 5104(e)(2)(D) – Disorderly Conduct in the Capitol Building
40 U.S.C. § 5104(e)(2)(F) – Act of Physical Violence in the Capitol Building
40 U.S.C. § 5104(e)(2)(G) – Parading, Demonstrating, or Picketing in the Capitol Building.
Denney Charges:
18 U.S.C. §§ 111(a)(1) and (b) -- Assaulting, Resisting, or Impeding Certain Officers with a Deadly or Dangerous Weapon
18 U.S.C. 231(a)(3) – Civil Disorder
18 U.S.C. § 1512(c)(2) – Obstruction of an Official Proceeding
18 U.S.C. § 1512(k) – Conspiracy to Obstruct an Official Proceeding
18 U.S.C. §§ 1752(a)(1) and 1752(b)(1)(A) Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
18 U.S.C. §§ 1752(a)(2) and 1752(b)(1)(A) – Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
18 U.S.C. §§ 1752(a)(4) and 1752(b)(1)(A) – Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon
40 U.S.C. § 5104(e)(2)(F) -- Act of Physical Violence in the Capitol Building.



              This criminal complaint is based on these facts:
    6HHDWWDFKHGVWDWHPHQWRIIDFWV

                                                                                                                                                   Complainant’s signature
            9
            u     Continued on the attached sheet.
                                                                                                                                       James P Farris, Special Agent
                                                                                                                                                    Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:                   12/07/2021
                                                                                                                                                       Judge’s signature

City and state:                                     :DVKLQJWRQ'&                                                    Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                                                    Printed name and title
